       Case 3:23-cr-00135-MEM Document 22 Filed 02/02/24 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA              :

           vs                         :   CASE NO. 3:23-CR-135

DAWN TROTTA                           :    (JUDGE MANNION)

                         Defendant    :

TYPE OF CASE: CRIMINAL

                           NOTICE OF HEARING

      TAKE NOTICE that a proceeding in this case has been SCHEDULED for the
time and place listed below:

PLACE: UNITED STATES DISTRICT COURT     COURTROOM: 3
      WILLIAM J. NEALON FEDERAL BLDG. &
       UNITED STATES COURTHOUSE
       235 N. WASHINGTON AVE.
       SCRANTON, PA 18501               DATE AND TIME:
                                        Friday, February 9, 2024
                                        at 10:00 a.m.

TYPE OF PROCEEDING:          CHANGE OF PLEA

DATE: February 2, 2024

                                               PETER J. WELSH, CLERK

                                               s/ G. Gebhardt
                                               Gina Gebhardt, Deputy Clerk


TO: HON. MALACHY E. MANNION, US DISTRICT JUDGE
    JAMES BUCHANAN, ESQUIRE, AUSA
    SHELLEY L. CENTINI, ESQUIRE
    U.S. PROBATION
    U.S. MARSHAL
    CT. REPORTER
